                          Case 4:14-cr-00098-JLH Document 42 Filed 06/25/14 Page 1 of 4
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1
                                                                                                                             ufo,s~~~RRT
                                                                                                                        EASTERN DISTRICT ARKANSAS


                                                                            JUN 2 G2014
                                         UNITED STATES DISTRICT COURT JAMES~,.rQRMAC
                                                                                                                By·        ·~c.. Vlw K, CLERK
                                                         EASTERN DISTRICT OF ARKANSAS                              .                           DEP CLERK
                                                                          )
             UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
                      HAROLD MCCOY                                                Case Number:          4:14CR00098-0l JLH
                                                                          )
                                                                          )       USMNumber:            43580-066
                                                                          )
                                                                          )       defendant proceeded pro se
                                                                                 Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Counts 5 and 7 of Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
18 U.S.C. § 1791(a)(2)           Attempt to possess a prohibited object in prison,                            6/20/2013                    5
                                  a Class A misdemeanor
18 U.S.C. § 1791(a)(2)           Attempt to possess a prohibited object in prison,                             6/20/2013                   7
                                  a Class B misdemeanor


       The defendant is sentenced as provided in pages 2 through           ~----'-4~- of this judgment.     The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      Counts 1, 3 of Indictment                 Dis      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenilant must notify the court and United States attorney of material changes in economic circumstances.




                                                                          J. LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          June 25, 2014
                                                                          Date
                           Case 4:14-cr-00098-JLH Document 42 Filed 06/25/14 Page 2 of 4
AO 245B    (Rev. 09/11) Judgment in Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment- Page   ~-=-2-   of   4
DEFENDANT:                    HAROLD MCCOY
CASE NUMBER:                  4:14CR00098-01 JLH


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
12 MONTHS on Count 5 and SIX (6) MONTHS on Count 7 to run concurrently to one another and
consecutive to the term of imprisonment defendant is currently serving out of the Eastern District of
Pennsylvania, Case No. 04-00750-01, with NO TERM OF SUPERVISED RELEASE TO FOLLOW

    D The court makes the following recommendations to the Bureau of Prisons:




    X The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at     --~~~~~~~~
                                                    D a.m.   D p.m.      on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                           DEPUTY UNITED STATES MARSHAL
                          Case 4:14-cr-00098-JLH Document 42 Filed 06/25/14 Page 3 of 4
AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 -Criminal Monetary Penalties
                                                                                                     Judgment- Page   ~~3_ _   of     4
DEFENDANT:                        HAROLD MCCOY
CASE NUMBER:                      4:14CR00098-0l JLH
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                          Fine                              Restitution
TOTALS            $ 25 + $10 = $35                                   $ 0                                 $ 0


 D The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned _payt!1ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U:S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                Total Loss*                       Restitution Ordered                   Priority or Percentage




 TOTALS                              $                                       $ __________________


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the             D fine    D restitution.
       D the interest requirement for the            D   fine    D restitution is modified as follows:


 *Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April23, 1995.
                           Case 4:14-cr-00098-JLH Document 42 Filed 06/25/14 Page 4 of 4
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment -   Page      4     of           4
DEFENDANT:                  HAROLD MCCOY
CASE NUMBER:                4:14CR00098-0l JLH

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X    Lump sum payment of$ _3=-5:..:·-=-00.::....._____ due immediately, balance due

           D     not later than                                      , or
           D     in accordance           D C,         D D,      D      E, or    D Fbelow; or
B     D Payment to begin immediately (may be combined with                     oc,        D D, or       D F below); or
C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
